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   July 6, 2020

   VIA ECF
   Hon. R. Brooke Jackson
   United States District Judge
   Alfred A. Arraj United States Courthouse
   901 19th Street
   Denver, CO 80294

   Re:    Warner Records, et al. v. Charter Communications, Inc., Case No. 1:19-cv-00874-RBJ-MEH

   Dear Honorable Judge Jackson:

           Charter Communications, Inc. (“Charter”) hereby seeks leave to file a motion to dismiss
   and/or strike the counterclaims filed by a subset of Plaintiffs 1 on June 15, 2020 in response to
   Charter’s counterclaims for declaratory judgment of non-infringement. Charter met and conferred
   with these Plaintiffs and requested that they agree to voluntarily dismiss their counterclaims, which
   are not “compulsory” and improperly seek to expand the scope of the claims in this case seven
   months after the deadline to amend pleadings. Plaintiffs refused to do so.

   I.     Plaintiffs’ Counterclaims Are Not Compulsory and Subject to Dismissal/Striking

          On June 15, 2020, a subset of Plaintiffs filed two counterclaims in response to Charter’s
   counterclaims for declaratory judgment of non-infringement. ECF 184. They assert that Charter is
   secondarily liable for the infringement of over 3,000 new works beginning after the original claim
   period and through present. Id., Countcls., ¶¶ 1, 11, 15. They allege their counterclaims are
   compulsory because Charter’s counterclaims “are ambiguous whether they seek declarations of
   non-infringement only as to the works in suit in the underlying action or more broadly as to any
   of Plaintiffs’ copyrighted works,” id., ¶ 3, n.4, and are not limited to Plaintiffs’ Claim Period
   (March 24, 2013 to May 17, 2016). See id., ¶ 4.

           Contrary to Plaintiffs’ position, Charter’s declaratory relief counterclaims are expressly
   limited to the works Plaintiffs asserted in their underlying action and there is no ambiguity. Charter
   specifically pleaded as follows: “FOR A DECLARATORY JUDGMENT THAT CHARTER IS
   NOT LIABLE FOR CONTRIBUTORY INFRINGEMENT OF PLAINTIFFS’ WORKS AT
   ISSUE” and “FOR A DECLARATORY JUDGMENT THAT CHARTER IS NOT LIABLE FOR
   VICARIOUS INFRINGEMENT OF PLAINTIFFS’ WORKS AT ISSUE.” ECF 165 at 66, 67
   (capitalizations in original); see also id., ¶ 127 (“Charter lacked the ability to verify Plaintiffs’
   allegations of infringement”); ¶ 129 (“Charter lacked knowledge of any acts of copyright

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    Only the Universal Music Group Record Company Plaintiffs and the purported owners of the
   corresponding music compositions asserted counterclaims. See ECF 184, Countcls., ¶¶ 16, 17.
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   infringement by others particularly claimed by Plaintiffs in this action); ¶ 130 (Charter lacked
   knowledge of any acts of copyright infringement by others generally claimed by Plaintiffs in this
   action); ¶ 151 (“Charter is entitled to a declaration that it is not vicariously liable to Plaintiffs, or
   any of them, on account of copyright infringement by others for the works in suit.”) (emphasis
   added); see also ¶¶ 148-150. Thus, Plaintiffs’ counterclaims are not compulsory and there is no
   basis for Plaintiffs to assert thousands of new works. At most, Plaintiffs could have asserted
   counterclaims for infringement of the 11,027 works in suit through present. 2

           Charter pointed out to Plaintiffs that its counterclaims are expressly limited to Plaintiffs’
   works in suit but, in order to resolve any claimed ambiguity, Charter would be willing to amend
   its counterclaims to make that clear. Charter also informed Plaintiffs that, given the advanced stage
   of the case, it would amend its counterclaims to expressly limit them to Plaintiffs’ Claim Period
   of March 24, 2013 to May 17, 2016. Plaintiffs refused to consent to the amendment, requiring
   Charter to file its concurrent motion for leave to amend.

            As described above, Plaintiffs’ counterclaims are far broader than Charter’s declaratory
   relief counterclaims and, therefore, not properly deemed “compulsory.” See Fed R. Civ. P. 13(a)(1)
   (a counterclaim is compulsory if it “arises out of the transaction or occurrence that is the subject
   matter of the opposing party’s claim”); see also Kamakazi Music Corp. v. Robbins Music Corp.,
   534 F. Supp. 57, 64–65 (S.D.N.Y. 1981) (“The prior trademark claim concerned the Big 3 ‘Urban
   Cowboy Music’ folio; the current counterclaim concerns the Warner ‘Urban Cowboy’ folio. This
   indicates that the prior claim and current counterclaim arose from different transactions or
   occurrences.”). Plaintiffs’ counterclaims seek to add over 3,000 new claims of infringement
   regarding works not at issue in the underlying case or Charter’s counterclaims. Because Plaintiffs’
   counterclaims are not compulsory, they are subject to dismissal and/or striking as impermissible
   attempts to amend pleadings long after their deadline on January 6, 2020 to do so. See Old Town
   Indus., Inc. v. Ryan, Case No. 09-cv-02587-WDM-DW, 2010 WL 2757352, at *2 (D. Colo. July
   12, 2010) (granting motion to strike counterclaims-in-reply where “[p]laintiff failed to [amend its
   complaint] within the time limit set by [the] Magistrate . . . .”); see also Lincoln Sav. Bank v. Open
   Sols., Inc., 956 F. Supp. 2d 1032, 1041 (N.D. Iowa 2013) (same).

           Accordingly, Charter seeks leave to move to dismiss and/or strike Plaintiffs’ counterclaims
   as not properly compulsory and as an improper attempt to vastly expand the scope of Plaintiffs’

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     To the extent Plaintiffs merely extended the period of time during which the works they assert in their
   First Amended Complaint were infringed, Plaintiffs would not be entitled to any additional awards of
   statutory damages, as the Copyright Act limits the number of awards by works in suit—not by the number
   of times that they have been infringed. 17 U.S.C. § 504(c) “[T]he copyright owner may elect, at any time
   before final judgment is rendered, to recover, instead of actual damages and profits, an award of statutory
   damages for all infringements involved in the action, with respect to any one work … .”) (emphasis
   added); see also Harrington v. Aerogelic Ballooning, LLC, No. 18-CV-02023-MSK-NYW, 2019 WL
   2613334, at *3 (D. Colo. Apr. 25, 2019) (“Put another way, ‘[a] single infringer of a single work is liable
   for a single amount [], no matter how many acts of infringement are involved in the action and regardless
   of whether the acts were separate, isolated, or occurred in a related series.”) (quoting Melville B. Nimmer
   et al., NIMMER ON COPYRIGHT, 14-135 § 14.04[E][2][a][i]) (internal citations omitted).
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   claims long after the deadline to amend pleadings and more than a year into discovery. Charter
   seeks leave to move to dismiss and/or strike Plaintiffs’ counterclaims regardless of whether Charter
   is separately granted leave to amend its declaratory relief counterclaims because Plaintiffs’
   counterclaims are not compulsory to Charter’s counterclaims, as they do not arise out of the
   transaction or occurrence at issue therein and are, therefore, impermissibly asserted.

   II.    Plaintiffs Should Not Be Permitted to Amend Their Complaint

            As demonstrated above, Plaintiffs’ counterclaims are not compulsory but permissive.
   Accordingly, Plaintiffs’ counterclaims should be dismissed and/or stricken because Plaintiffs
   failed to seek leave to amend its pleadings, as would be required at this point in the case. See Old
   Town Indus., Inc., at *2. While Plaintiffs have not sought such leave, if they do, it should be denied.
   Allowing Plaintiffs to vastly expand this already complex case, seven months after the deadline to
   amend pleadings (which was already extended at Plaintiffs’ request), and more than a year into
   discovery, would greatly prejudice Charter. See Frank v. U.S. West, Inc., 3 F.3d 1357, 1365 (10th
   Cir. 1993) (denying amendment that came four and a half months after deadline to amend). Further,
   there is no question that Plaintiffs were aware of the facts supporting these counterclaims and could
   have, but failed to, included them in their original complaint or by the deadline to amend. See id.
   (denying amendment where party “knows … the facts upon which the proposed amendment is
   based but fails to include them in the original complaint”).

           Pursuant to the Joint Scheduling Order, Plaintiffs’ deadline to join parties and amend their
   pleadings was November 1, 2019 and their deadline to file amended exhibits to their complaint
   (identifying the “works in suit”) was January 15, 2020. ECF 44 at 10. On October 29, 2019, with
   Charter’s consent, Plaintiffs moved to amend the schedule to allow until January 6, 2020 to amend
   their pleadings, ECF 77, which the Court granted on October 30, 2019. ECF 79.

           The parties have conducted extensive discovery based on Plaintiffs’ First Amended
   Complaint, nearly all of which has been limited to the Claim Period (March 24, 2013 to May 17,
   2016) or the Discovery Period (March 2012 to May 2016). This discovery is focused on the 11,027
   works in suit, the technology of the infringement notice program at issue, Plaintiffs’ anti-piracy
   efforts leading up to and including the Claim Period, Charter’s responses to infringement notices
   leading up to and including the Claim Period, and Charter’s financials during the Claim Period.

           Plaintiffs’ improper counterclaims would vastly expand the scope of discovery by adding
   new infringement claims for over 3,000 new works and by doubling the time period at issue from
   May 18, 2016 to present. It is also unclear whether the Plaintiffs asserting counterclaims used the
   same notice program as with the underlying claims, which would also substantially expand the
   intensive technology-heavy discovery in which the parties are currently engaged, involving
   multiple third parties. Courts routinely deny amendments to pleadings seeking to vastly expand a
   case long after the deadline for amendments. If Plaintiffs seek leave, the same should be true here.

   Respectfully submitted,

   s/ Jennifer A. Golinveaux
